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12
                           IN THE UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14
     In re Google RTB Consumer Privacy               Case No. 4:21-cv-02155-YGR-VKD
15   Litigation,
16                                                   PLAINTIFFS’ REPLY IN SUPPORT OF
                                                     DAUBERT MOTION TO EXCLUDE
17   This document applies to: all actions.          GOOGLE LLC’S EXPERT BRUCE DEAL

18                                                   Judge:       Hon. Yvonne Gonzalez Rogers
                                                     Date:        TBD
19
                                                     Time:        TBD
20                                                   Courtroom:   1, Fourth Floor

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 1 I.       INTRODUCTION
 2          Plaintiffs move to strike the testimony of Bruce Deal for three reasons: (1) he asserts opinions
 3 that are plainly outside his expertise, which he admits; (2) the “facts” he relies on amount to

 4 speculation unsupported by record evidence, are not reliable or are directly contradicted by evidence,

 5 making the opinions resting on them unreliable; and (3) for key points he merely parrots

 6 undocumented, untested off-the-record assertions from a Google employee, Stan Belov, who (a)

 7 offered no corresponding declaration; (b) was not deposed on these topics, and (c) in deposition

 8 almost a year before Mr. Deal submitted his report, claimed to have “no expertise” on these topics.

 9 Mather Decl. Ex. 1 (“Belov Dep. Tr.”) at 19:19–20:4; 29:20–24; 30:19–24.

10          Plaintiffs demonstrate in their opening brief (ECF No. 623-3) the numerous ways in which
11 Mr. Deal’s opposition class certification testimony fails the basic test of Fed. R. Evid. 702: that it

12 “both rests on a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow

13 Pharm., Inc., 509 U.S. 579, 597 (1993) (“Daubert”).

14          Google’s response relies heavily on two general propositions, both of which have been
15 clarified by recent amendments to Rule 702, effective as of December 1, 2023. First, Google cites the

16 general proposition that experts may rely on information obtained from others in forming their

17 opinions. ECF No. 633-2 at pp. 1, 7, 10–13, 23, 25. Second, Google asserts that an expert’s reliability

18 often goes to weight, not admissibility. Id. at pp. 14–15, 23–24. In an effort to shoehorn Mr. Deal’s

19 opinions into that framework, Google recasts Mr. Deal’s stated opinions as mere assumptions, and

20 normalizes the use of his report as a way to put otherwise inadmissible, unreliable testimony before

21 the Court. Id. at pp. 2, 11, 12, 15, 21, 22, 23.

22          Neither assertion meets Rule 702’s basic requirements. A court, adhering to its gatekeeping
23 function under Daubert, should find that expert opinion arising from “an untested and partisan

24 foundation”—such as Mr. Deal adopting assertions made by Google’s Mr. Belov in an unrecorded,

25 untested, secret “off-the-record” interview—is not based on “sufficient facts and data within the

26 meaning of Rule 702.” Therasense, Inc. v. Becton, Dickinson & Co., 2008 WL 2323856, at *2 (N.D.

27 Cal. May 22, 2008) (criticizing party’s maneuver to “pass off client-prepared litigation-driven ‘tests’

28 as fact by having the ‘expert’ bless them” and excluding the proffered expert opinion accordingly);
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 1 see also Rapp v. NaphCare Inc., 2023 WL 5844724, at *8 (W.D. Wash. Sept. 11, 2023) (quoting In

 2 re Bard IVC Filters Prods. Liab. Litig., 2017 WL 11696720, at *3 (D. Ariz. Dec. 22, 2017) (“experts

 3 will not be permitted…to gratuitously comment on factual evidence or present what are essentially

 4 lawyer arguments with regard to factual testimony.”).

 5          Merely arguing, as Google does in its opposition, that plaintiffs have not put forward sufficient

 6 arguments that Mr. Deal’s opinions are unreliable is insufficient to save Mr. Deal’s opinions.

 7 Google’s fails to meet its burden to establish the admissibility of Mr. Deal’s testimony under Daubert

 8 and Rule 702, and those portions of his report identified in Plaintiffs’ proposed order should be

 9 excluded.

10 II.      ARGUMENT

11          A.      Unjust Enrichment Testimony (Deal Rpt., ¶¶ 9–14, 35, 37–67)

12                  1.      Google does not establish the admissibility of Mr. Deal’s opinions on
                            what revenue data Google has available.
13
            Mr. Deal asserts the following opinions as to the damages model provided by plaintiffs’
14
     expert, Greg Regan: (1) Mr. Regan “failed to propose any method to reliably estimate Google RTB
15
     revenue associated with Google Account Holders”; and (2) Mr. Regan “could not remedy these flaws
16
     with available data.” See ECF No. 633-2 at p. 8.
17
            In support of the first opinion, Google offers only criticism of Mr. Greg Regan’s rebuttal
18
     report, rather than demonstrating that Mr. Deal’s testimony is more likely than not admissible. See
19
     Block v. General Motors, Inc., 2023 WL 8651376, at *5 & n.13 (E.D. Pa. Dec. 14, 2023) (noting that
20
     one of the purposes of Rule 702, as amended December 1, 2023, is to “clarify and emphasize that
21
     expert testimony may not be admitted unless the proponent demonstrates to the court that it is more
22
     likely than not that the proffered testimony meets the admissibility requirements set forth in the rule”).
23
     Google argues only that “Mr. Regan’s Reply Report confirms that Mr. Deal’s criticisms are entirely
24
     valid,” because Mr. Regan, in rebuttal, does not “propose a method to estimate the RTB revenue
25
     attributable to Google Account Holders,” and Mr. Deal is only holding himself out as a rebuttal
26
     expert. ECF No. 633-2 at pp. 8–9. But merely criticizing Mr. Regan’s rebuttal report does not meet
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 1 Google’s burden as to the admissibility of Mr. Deal’s testimony. Google must instead show that Mr.

 2 Deal’s expert testimony is reliable under Daubert and Rule 702 – precisely what Google fails to do.

 3          With respect to the second opinion, Google argues that both Mr. Deal’s off-the-record

 4 interview with Mr. Belov and the deposition testimony of Dr. Glenn Berntson “establish[] that the

 5 cookie that identifies a Google Account holder (the ‘GAIA cookie’) does not exist for different types

 6 of Google Account Holders and therefore Google does not have a means of identifying what portion

 7 of ads displayed through Google RTB are shown to Google Account Holders.” ECF No. 633-2 at p.

 8 9. But in support of this assertion, Google cherry-picks only four lines of deposition testimony.

 9 Testifying, in response to a question about whether RTB traffic can be identified as “associated with

10 a Google user,” not about Google’s financial reporting, Dr. Berntson said that “

11

12                                    ” Mather Decl. Ex. 2 (“Berntson 12/8/22 Dep. Tr.”) at 165:3–25 (as

13 corrected). These four lines of testimony do not provide a sufficient basis for Mr. Deal or anyone else

14 to opine that “it is impossible to reliably determine whether particular ad revenue is attributable to an

15 ad shown to any of these groups of users [meaning Google account holders signed out, Google

16 account holders signed in, or users with no Google account].” Deal Rpt., ¶ 41. See Brown v. Google,

17 2022 WL 17961497, at *8–9 (N.D. Cal. Dec. 12, 2022) (excluding proffered expert testimony as “not

18 sufficiently reliable” because conclusions were based on speculation from sources that did not

19 establish the points relied on).

20          Pivoting to the secret interview with Mr. Belov, Google argues that plaintiffs “fail to cite a

21 single case showing that this reliance was improper,”1 and that “[i]t is black letter law that an expert

22 may properly rely on hearsay in forming their opinions.” ECF No. 633-2 at p. 10. But if citing such

23 platitudes were sufficient to establish admissibility, there would be no gatekeeping function to Rule

24

25
     Google’s assertion that Plaintiffs cited “no case law” in support of their objections to Google’s use
     1

26 of a secret interview with a company insider is odd, in light of Plaintiffs’ repeated reliance on
   Therasense, 2008 WL 2323856, at *2, for this point, and Google’s half-hearted effort, in a footnote,
27 to distinguish this important case and the guidance it provides on the issue. Compare plaintiffs’
   opening brief, ECF No. 623-3, at pp. 3, 13–14, with Google’s opposition brief, ECF No. 633-2, at p.
28 9 & n.7.
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 1 702 at all. The point here is not that Mr. Deal is relying on information from other experts (which he

 2 demonstrably is not when he points only to Mr. Belov), but that his use of a secret, unrecorded

 3 interview with Mr. Belov as a source of factual information has all the indicia of being biased,

 4 speculative, and unreliable. ECF No. 623-3 at pp. 10–11, 13, 15. In response to that issue, Google

 5 offers nothing affirmatively to this Court as a basis to find that Mr. Deal’s reliance on his off-the-

 6 record interview with Mr. Belov is “sufficient”, “reliable”, or even passably reasonable as a source.

 7          The only slight feint in that direction is Google’s citation to a joint letter brief on the status of

 8 discovery (ECF 463 at 1) in which plaintiffs, seeking additional discovery from Mr. Belov, describe

 9 him as “central to Google’s RTB design and operation.” ECF No. 633-2 at pp. 10–11. And while that

10 would be wanting enough as far as an affirmative showing of admissibility, Google then goes even

11 further, asserting that plaintiffs’ objections to admissibility should be overruled because “Plaintiffs

12 have not identified any prejudice from Mr. Deal’s reliance on the interview.” Id. at p. 10. It should

13 go without saying that lack of prejudice is not a valid legal basis to admit an otherwise unreliable

14 opinion under Rule 702, and judicially imposing such a requirement would fly in the face of Rule

15 702’s text and recent history. See Fed. R. Evid. 702 (requiring that the proponent of expert testimony

16 “demonstrate[] to the court that [the testimony] is more likely than not” admissible).

17          Nor does Google make any effort to demonstrate the admissibility of Mr. Deal’s direct

18 assertion that Google does not “

19                             ” Deal Rpt., ¶ 42. Instead, Google argues that Plaintiffs err by focusing on

20 “Google’s ability to track RTB revenue” instead of “the sufficiency of Mr. Regan’s analysis.” ECF

21 No. 633-2 at p. 8. But there is no dispute that Mr. Deal is opining that in fact there is no “available

22 data” that Mr. Regan could use to “remedy these flaws.” Id. This is not an assumption that Mr. Deal

23 makes in forming his opinion about Mr. Regan’s damage calculations; it is the opinion. See Deal Rpt.,

24 ¶ 38 (“Mr. Regan cannot remedy these flaws with available data.”); ¶ 41 (“[I]t does not appear

25 possible to reliably estimate, absent some type of individualized inquiry, the proportion of Google

26 RTB revenue generated from Google account holders to exclude the revenue from ads shown to non-

27 Google account holders.”); ¶ 42 (“I understand that Google does not separately track RTB revenue

28 from ads shown to users with and without Google accounts.”). And Mr. Deal was candid in his
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 1 deposition that the basis of this assertion was Mr. Belov (Mather Decl. Ex. 3 (“Deal Dep. Tr.”) at

 2 100:20–101:16), who, it is apparent from previous testimony, is a Google engineer not tasked with

 3 tracking or reporting Google’s financial information. Belov Dep. Tr. at 19:19–20:4; 29:20–24; 30:19–

 4 24.2 This kind of reliance on a biased company source who has not testified under oath regarding the

 5 relevant factual assertion is exactly the kind of abuse Judge Alsup identified in Therasense, 2008 WL

 6 2323856, at *2.

 7          Because Google has not demonstrated that this opinion is “based on sufficient facts or data,”

 8 or that it is “the product of reliable principles and methods”; or that it “reflects a reliable application

 9 of the principles and methods to the facts of the case,” the testimony should be excluded. Fed. R.

10 Evid. 702.

11                  2.      Mr. Deal’s testimony regarding applicability of U.S. TOS. is
                            inadmissible.
12
            Google admits that Mr. Deal opines on the applicability of the U.S. Terms of Service. See
13
     ECF No. 633-2 at p. 12 (“Mr. Deal further explains that Mr. Regan incorrectly assumes that all
14
     individuals identified as ‘             ’ in a revenue spreadsheet produced by Google are subject to a
15
     U.S. TOS . . .”). Google further admits that Mr. Deal’s opinion is rendered “based on assumptions
16
     from counsel concerning the applicability of the U.S. TOS.” Id.
17
            Nevertheless, Google argues that the applicability of the U.S. TOS is “not a ‘legal opinion’ or
18
     even a disputed fact,” citing nothing more than Mr. Regan, who also assumes that the U.S. TOS
19
     applies to “           ” Id. Mr. Regan clearly cites Google’s own discovery responses in his report.
20
     Regan Reb., ¶¶ 5 & n.2, 12, 13 & n.8.
21
            But whether Google’s U.S. TOS would apply to, say, a Google account holder residing in
22
     California, who travels overseas, cannot be anything but a legal question. See, e.g., Song fi, Inc. v.
23
     Google Inc., 72 F. Supp. 3d 53, 59–64 (D.D.C. 2014) (assessing, as a matter of law, whether the
24

25
     2
26   In his deposition, taken about a year before his interview with Mr. Deal, Mr. Belov stated that he is
   “not exactly an expert on Google’s logging” (Belov Dep. Tr. at 19:19–20:4), that he did not know if
27 “there [was] a way to search for all information or data associated with any particular Google account
   holder” (Id. at 29:20–24), and that he is “[n]ot an expert on logs or tables or data storage at Google”
28 (Id. at 30:19–24).
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 1 forum selection clause in YouTube’s terms of service was applicable to plaintiff); In re Avandia

 2 Mktg., Sales Pracs. and Prod. Liab. Litig., 484 F. Supp. 3d 249, 266–67 (E.D. Pa. 2020) (evaluating

 3 whether GDPR or U.S. law would govern the disclosure of certain information).

 4          Nor is the citation to Mr. Regan’s report sufficient to establish that Mr. Deal’s opinions on

 5 the applicability of the U.S. TOS are admissible. See Fed. R. Evid. 702 (requiring that a party offering

 6 an expert “demonstrate[] to the court that it is more likely than not” that the evidence is admissible).

 7          Google’s citations to cases saying that generally experts can rely on information obtained

 8 from counsel are beside the point. ECF No. 633-2 at p. 12. What experts cannot do, and what Mr.

 9 Deal does here, as he has been found to do in previous reports, is cross the line from using an

10 assumption provided by counsel to himself espousing a legal conclusion. See Highfields Capital I,

11 LP v. SeaWorld Entertainment, Inc., 2022 WL 1037210, at *11 (S.D. Cal. Apr. 6, 2022) (excluding

12 certain testimony from Mr. Deal as a “legal conclusion,” even while noting that “Mr. Deal should be

13 permitted to testify as to his economic, analysis-driven conclusions”). If Mr. Deal opining that the

14 U.S. TOS do not apply to a user who is overseas but using a U.S. VPN is not a legal conclusion, it is

15 hard to understand what would cross the line. See, e.g., ECF No. 633-2 at p. 13 (agreeing that the

16 “enforceability of the TOS” is an “ultimate legal issue”).

17                  3.      Mr. Deal’s testimony regarding VPN usage is inadmissible.

18          Google further admits that Mr. Deal’s “opinion is . . . that VPN usage likely presents a
19 problem.” ECF No. 633-2 at 14. And indeed, Mr. Deal goes further in his report, opining that the

20 problem is “likely to be substantial.” (Deal Rpt., ¶ 46.) But that is a matter for technical experts, and

21 his own deposition testimony shows why. Deal Dep. Tr. at 116:4–7 (“I am certainly not a technical

22 expert in VPN usage.”). It is clear that Plaintiffs do not “mischaracterize” Mr. Deal’s reliance on

23 third-party sources as “freestanding ‘opinions.’” ECF No. 633-2 at p. 13. The prevalence of VPN

24 usage is not an assumption on which Mr. Deal is basing an opinion; it is the opinion. As Mr. Deal

25 states plainly in his report: “The proportion of non-U.S. users who inaccurately appear via IP address

26 to be in the U.S. (and therefore may [not] be subject to a U.S. TOS) is large.” Deal Rpt, ¶ 46.

27          Most importantly, Google does nothing in its response to affirmatively establish that this
28 opinion is “based on sufficient facts or data,” or that it is “the product of reliable principles and
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 1 methods”; or that it “reflects a reliable application of the principles and methods to the facts of the

 2 case.” Fed. R. Evid. 702. The only statement offered about the basis for this opinion at all is that Mr.

 3 Deal’s report “cites literature from various sources, including an online security firm and a technology

 4 consulting company, about the use and prevalence of VPN systems.” ECF No. 633-2 at p. 13. Google

 5 makes no effort to affirmatively assert the reliability of these sources, or refute Mr. Deal’s own

 6 admissions at his deposition that he is “not a technical expert [in] VPN usage.” Deal Dep. Tr. at

 7 116:4–7.

 8          This failure is particularly telling in light of Google’s discounting of its own sworn testimony,

 9 given under oath after Mr. Deal submitted his report, that Google does understand, when an account

10 is created, whether a user is subject to a U.S. terms of service, based in part on the location of the

11 user’s IP address. See Vakharia Dep. Tr. at 66:24–67:4. Remarkably, Google argues in its response

12 here that the Court need not “credit [Google’s own sworn] testimony” and instead should permit Mr.

13 Deal to testify to the contrary because “Plaintiffs’ reliance on [Google’s own sworn testimony] . . .

14 go[es] to weight, rather than admissibility.” ECF No. 633-2 at p. 14. Such an argument represents, at

15 the very least, an alarmingly paltry view of this Court’s gatekeeping role under Rule 702, and not in

16 line with recent amendments that emphasize the importance of the district court’s role in ensuring

17 that only testimony proven by the proponent to be more likely than not reliable should be admitted.

18 See Fed. R. Evid. 702, Advisory Committee Notes (2023 Amendments) (“[M]any courts have held

19 that the critical questions of the sufficiency of an expert’s basis, and the application of the expert’s

20 methodology, are questions of weight and not admissibility. These rulings are an incorrect application

21 of Rules 702 and 104(a).”); see also Sardis v. Overhead Door Corp., 10 F.4th 268, 283–84 (4th Cir.

22 2021) (reversing trial verdict based on district court’s abuse of discretion in admitting into evidence

23 irrelevant and unreliable opinions, noting that the “importance of the gatekeeping function [of the

24 district courts] cannot be overstated”).

25          As this Court demonstrated clearly in Brown, even experts qualified in one field can have

26 opinions stricken for venturing outside their area of expertise. Brown, 2022 WL 17961497, at *11

27 (“While Schneier is a security technologist, and can opine generally about relevant privacy issues, he

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 1 does not have specialized expertise in opining about the purported understandings and expectations

 2 of consumers specifically.”). Exclusion of Mr. Deal’s testimony on this ground is warranted here.

 3                  4.      Mr. Deal’s testimony regarding voluntary sharing of data is inadmissible.

 4          Google does not dispute that Mr. Deal is not an expert on privacy or consent. ECF No. 633-2
 5 at pp. 15–16. Instead, Google asserts that adding the phrase “from an economic perspective” to an

 6 assertion that is otherwise about principles of privacy and consent must insulate this opinion from

 7 exclusion. Id. at p. 15. In response to Plaintiffs’ correctly pointing out that Mr. Deal cites nothing as

 8 support for this opinion, Google asserts only the general principle that Mr. Deal is “allowed to rely

 9 on his knowledge, skill, experience, training or education . . . to form his opinion.” Id. Notably,

10 Google offers no affirmative reason as to why this opinion is economic in nature at all, as opposed to

11 simply an argument about Google not being liable when users consent. Id.

12          Indeed, this confusion of economic analysis and liability is exactly the error that this Court
13 found Google to be making in Brown, when Google argued that Plaintiffs’ expert should be excluded

14 because he failed to account for “uninjured class members.” Brown, 2022 WL 17961497, at *5. That

15 argument was rejected in Brown because it was a liability defense for Google, not an economic issue

16 that Plaintiffs’ expert was required to consider. Id. (“. . . Google’s arguments reflect a merits dispute

17 about the scope of its liability, and is not appropriate for resolution at the class certification stage of

18 this proceeding.”) (internal quotation marks omitted) (cleaned up). The same is true here.

19          With respect to Google’s assertion that plaintiffs have misconstrued Mr. Deal’s opinion,
20 confusing assumptions with opinions (ECF No. 633-2 at p. 15), the text of Mr. Deal’s report is

21 dispositive. At Deal Report ¶ 48, for example, Mr. Deal opines: “Proposed Class Members can ‘opt-

22 in’ to allow sharing of their data in numerous ways, and information suggests that a substantial portion

23 of the Proposed Class likely did.” And: “Even Proposed Class Members who know of, but choose to

24 forego, options to prevent the sharing of data with advertisers can be considered to have voluntarily

25 opted into the sharing of their data.” Deal Rpt., ¶ 48; see also Section II.B (unharmed class members).

26 These are not assumptions about issues of privacy and consent; they are direct opinions on those

27 issues. This is a classic example of a damages expert who has strayed out of his lane into a privacy

28
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 1 analysis regarding what constitutes a valid “opt-in” to the sharing of data. See, e.g., Brown, 2022 WL

 2 17961497, at *11 (excluding testimony that goes beyond an expert’s area of expertise).

 3          Having made no effort to affirmatively demonstrate that these opinions are more likely than

 4 not admissible, Google resorts to a “they’re doing it too” defense, citing Professor Zeithammer’s

 5 analysis of users who opt in or opt out under the California Consumer Privacy Act (“CCPA”). ECF

 6 No. 633-2 at p. 16. Putting aside the obvious differences between an explicit consent regime, as set

 7 up under the CCPA, and Mr. Deal’s opinions regarding what constitutes an “opt in” to data sharing,

 8 this type of argument is no showing at all under the relevant legal standard, which is to demonstrate

 9 to the court that Google’s proffered testimony, from Mr. Deal, is more likely than not admissible.

10 Accordingly, these opinions should be excluded.

11                 5.      Mr. Deal’s testimony regarding overall profits is inadmissible.

12          Google protests that plaintiffs’ assertions about Mr. Deal “parroting” statements from Mr.

13 Belov as his own opinion is “plain wrong.” ECF No. 633-2 at p. 17.

14          But here are the key assertions taken directly from this section of Mr. Deal’s report:

15          “According to Mr. Stan Belov, a Google staff software engineer who is technical lead
            for Google RTB,
16                                                                                              .
            Mr. Belov explained this is because the
17
                                                                            Thus, like the other
18          studies discussed above, this

19                                                     ” Deal Rpt., ¶ 66 (footnote 82 citing only
            to “Interview with Stanislav Belov, August 16, 2023.”) (emphasis added).
20
            Mr. Belov’s off-the-record assertion about how Google’s revenue would be affected if Google
21

22 stopped sharing user data in its RTB auctions is not an assumption that Mr. Deal is taking into account

23 in offering an opinion; it is the opinion. Deal Rpt., ¶ 65

24
              ). Google may argue that Mr. Deal is “not simply regurgitating Mr. Belov’s ‘opinions,’” but
25

26 the text does not back up this claim. ECF No. 633-2 at p. 17.
            Nor can Google cleanse this direct parroting by pivoting to the idea that it is “entirely proper”
27

28 for experts to rely on company sources. Id. More on point is the proposition that experts cannot simply
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 1 parrot the testimony of others and adopt it as their own. See S.E.C. v. Tourre, 950 F. Supp. 2d 666,

 2 675 (S.D.N.Y. 2013) (“Acting simply as a narrator of the facts does not convey opinions based on an

 3 expert’s knowledge and expertise; nor is such a narration traceable to a reliable methodology”); see

 4 also Sitts v. Dairy Farmers of Am., Inc., 2020 WL 3467993, at *8 (D. Vt. June 24, 2020) (quoting

 5 SourceOne Dental, Inc. v. Patterson Cos. Inc., 2018 WL 2172667, at *7 (E.D.N.Y. May 10, 2018)

 6 (this kind of narrative and commentary on the evidence is not admissible because it is not “helpful to

 7 the finder of fact.”)); ECF No. 623-3 at pp. 18-21 (discussing Woods v. City of Hayward, 2021 WL

 8 4061657 (N.D. Cal. Sep. 7, 2021), among other cases).

 9                   6.      Legal conclusions masked as unqualified expert opinions are
                             inadmissible.
10
             Google disputes that Mr. Deal offers legal conclusions, essentially arguing that declaring a
11
     particular proposed damage model to be “unreliable” is the function of a rebuttal expert, and therefore
12
     must be allowed. ECF No. 633-2 at pp. 18-20. But the cases Google cites in support do not specifically
13
     address whether opining as to the ultimate question of reliability is proper. See McCrary v. Elations
14
     Co. LLC, 2014 WL 12589137 (C.D. Cal. Dec. 2, 2014) (excluding some portions of rebuttal damages
15
     expert, but permitting others); Townsend v. Monster Beverage Corp., 303 F. Supp. 3d 1010, 1035
16
     (C.D. Cal. 2018) (rejecting objection to cumulative nature of expert opinions, not addressing whether
17
     an expert specifically opining as to the ultimate issue of reliability was proper).
18
             In contrast, the quotations Google puts forth from Mr. Regan’s report actually do show how
19
     a careful expert can provide helpful testimony on an important issue the Court must resolve without
20
     venturing into offering a legal opinion. See ECF No. 633-2 at p. 19 (quoting the Regan report as
21
     stating: “[t]he RTB data . . . enables the relief sought by Plaintiffs to be “readily quantified on a class-
22
     wide basis”).
23
             Mr. Deal, however, just as he seems to have done in Highfields, has been less than careful in
24
     respecting this important line. Instead, Mr. Deal has simply taken issues the Court must decide
25
     (reliability and individualized inquiry) and opined on these ultimate issues repeatedly. Google’s
26
     efforts to distinguish Fitzhenry-Russell in a footnote and salvage some of Mr. Deal’s opinions by
27
     arguing that “wholesale exclusion” is not warranted are not persuasive. ECF No. 633-2 at p. 19 &
28
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 1 n.15. Whatever the “focus” of Mr. Deal’s opinion, what he actually says is directive to the Court

 2 about findings on reliability and individualized inquiry, and those opinions should be excluded. ECF

 3 No. 623-3 at pp. 19–20 (discussing Fitzhenry-Russell v. Keurig Dr. Pepper Inc., 2018 WL 10472794

 4 (N.D. Cal. Sept. 25, 2018) and Highfields, 2022 WL 1037210, at *12–13); see also M.H. v. County

 5 of Alameda, 2015 WL 54400, at *2 (N.D. Cal. Jan. 2, 2015) (partially excluding expert opinions for

 6 “using the legally significant terms ‘deliberate indifference’ and ‘objective reasonableness’”).

 7          B.       Compensatory Damages Testimony (Deal Rpt., ¶¶ 15, 17, 19–20, 91–93)

 8          Google does not dispute that Mr. Deal is not an expert in the RTB auction or in what data

 9 fields are shared in the RTB auction. Instead, Google misdescribes his report. Google says the report

10 only asserts that assuming data fields are not commonly shared, the “market value model” of

11 Plaintiffs’ experts “does not suffice to estimate damages.” ECF No. 633-2 at p. 21. Google’s

12 characterization of Mr. Deal’s report cannot survive an examination of the report’s text, in which Mr.

13 Deal purports to offer opinions about the technical intricacies the RTB auction, of which he plainly

14 has no expertise:

15               •   Deal Rpt., ¶ 91: “Another problem that Plaintiffs’ Experts have not addressed
                     involves estimating the quantity and mix of information actually shared through
16                   RTB, and doing so would require individualized inquiry.”
17
                 •   Id., ¶ 92: “Individualized and time-consuming inquiry would be necessary to
18                   determine and value the actual data that was shared given the many factors that
                     affect whether and which data was included in Bid Requests during the Class
19                   Period.”
20
                 •   Id., ¶ 92 & n.136, citing to Mr. Regan’s report for the assertion that “the data
21                   required to do a complete accounting of data fields that were shared in Bid
                     Requests during the Class Period does not exist.”
22
                 •   Id., ¶ 92: “Various factors would cause data variation, including: [b]rowsers
23                   that automatically blocked third-party cookies (e.g., Safari or Firefox, at
24                   different points in time); [t]hird-party software that blocked third-party cookies
                     or other at-issue data from being shared; [s]oftware or hardware settings by
25                   device and browser that blocked third-party cookies or other at-issue data from
                     being shared; Google internal policies and data logic that prevented third-party
26                   cookies or other at-issue data from being shared . . . . ”
27          Mr. Deal is opining, directly, on the variability in bid requests. And because Mr. Deal has no
28 expertise in that particular area, a point which Google does not contest, his opinions on these points
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 1 should be excluded. See Brown, 2022 WL 17961497, at *11; Space Data Corp. v. Alphabet, Inc.,

 2 2019 WL 2603285, at *4 (N.D. Cal. Jun. 25, 2019) (partially excluding testimony from damages

 3 expert for opining on substantive areas outside of damages).

 4         C.         Unharmed Class Member Testimony (Deal Rpt., ¶¶ 21, 94–135)

 5         Google does not contest that Mr. Deal is not an expert in privacy or consent. ECF No. 633-2

 6 at p. 23. Instead, Google asserts that Mr. Deal has only assumed certain facts related to privacy and

 7 consent in forming his opinions. But the language in Mr. Deal’s report does not support this

 8 distinction.

 9                •   Deal Rpt., ¶ 96: “Based on my review and analysis, I find Mr. Regan’s
                      assumptions of harm to all Proposed Class Members to be unsupported. There
10                    are many possible combinations of understanding, knowledge, choices, and
11                    preferences among Proposed Class Members that would cause a substantial
                      portion of them to be unharmed.”
12
                  •   Id., ¶ 98: “Mr. Regan could not remedy this flaw in his damages model because
13                    substantial and time-consuming individualized inquiry would be necessary to
                      identify unharmed Proposed Class Members. For instance, what each Proposed
14                    Class member knew or how they understood the Privacy Policy is influenced
15                    by many things, including: individual experiences; knowledge gained through
                      education, vocational training, and work experience; information learned from,
16                    among other things, talking to others, and/or read or heard from public sources;
                      tendencies to research different topics; and sensitivity to privacy.”
17
                  •   Id., ¶ 100: “A core question in the determination of the fact of harm is whether
18
                      a Google account holder understood that their at-issue data would be shared
19                    with third parties in Google RTB.”

20                •   Id., ¶ 103: “Consistent with this finding [referring to the survey conducted for
                      Google by Prof. Hanssens], numerous public sources were available to inform
21                    Proposed Class Members about the sharing of the at-issue data. Thus,
22                    individualized inquiries would be necessary to ascertain what different
                      Proposed Class Members read, encountered, or knew about Google’s sharing
23                    of information in Bid Requests, and what actions they took and why upon
                      gaining that knowledge.”
24
                  •   Id., ¶ 110: Google also publicly disclosed the types of information it included
25
                      in Bid Requests. “I understand that Google made additional disclosures about
26                    the information included in Bid Requests and that those disclosures are
                      described in the Declaration of Suneeti Vakharia.”
27

28
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 1          In response to Plaintiffs’ arguments that in fact Suneeti Vakharia, testifying on behalf of

 2 Google, swore under oath that Google did not disclose data that was shared in RTB, Google pivots

 3 again to “weight vs. admissibility,” offering no affirmative defense of the truth or reliability of Mr.

 4 Deal’s assertions. ECF No. 633-2 at p. 23. This is simply insufficient under Rule 702 to warrant

 5 admission of this testimony. Fed. R. Evid. 702 (burden is on proffering party); see also Brown, 2022

 6 WL 17961497, at *12.3

 7          Google also cites Space Data in support of the proposition that Mr. Deal, “as a damages expert

 8 . . . is entitled to rely on facts and assumptions that relate to his overall economic criticisms of Mr.

 9 Regan’s methodology.” ECF No. 633-2 at p. 23. But the discussion in Space Data supports the careful

10 judicial policing of the line between permissible assumptions and affirmatively stated opinions that

11 veer outside an expert’s area of expertise:

12          . . . Space Data argues that Dr. Ingberman [Google’s damages expert] has no foundation
            to opine on trade secret or confidential information misuse because he is an economist,
13          not a technical expert. . . . Dr. Ingberman may testify on trade secret misuse as it
            pertains to the value of Space Data’s trade secrets, but only at a high level. In other
14
            words, Dr. Ingberman may offer his opinions on the value of the trade secrets in
15          question and may build in and discuss the assumptions on which he relies. Likewise,
            Dr. Ingberman may rebut [Plaintiffs’ expert’s] methodology at a high level—such as
16          opining on what [Plaintiffs’ expert] failed to properly account for in forming her
            opinions or solidifying her assumptions. However, Dr. Ingberman may not testify that
17          a given trade secret has no value because it is not a trade secret—such testimony falls
            outside the purview of damages. For example, Dr. Ingberman may not offer testimony
18
            that in his opinion the publicly available information enabled Google to achieve the
19          same result, independent of Space Data’s trade secrets.”

20

21   3
       Perez v. Rash Curtis & Assoc., 2019 WL 1491694 (N.D. Cal. Apr. 4, 2019), is not to the contrary.
22   There, plaintiffs’ expert had opined that certain telephone numbers in defendant’s database had been
     “skip-traced,” and the defendant challenged that opinion, contending that “not every number in
23   [certain fields] was obtained through skip-tracing.” Id. at *3. On defendant’s pre-trial Daubert
     motion, attempting to keep this testimony from the jury, the Court found that it “need not resolve the
24   accuracy of defendant’s contention because any arguments that [plaintiffs’ expert] based his opinions
     on an improper assumption go to the weight, not the admissibility of his testimony.” Id. (citing two
25
     9th Circuit cases, one from 2014 and one from 2015). The fact that this Court declined under those
26   circumstances to resolve a factual dispute regarding how certain telephone numbers were obtained
     does not transform every dispute about an expert’s assumptions into an issue of weight, not
27   admissibility. If that were true, this Court would never have issued the careful opinion that it did in
     Brown, assessing each side’s experts on various grounds, including the reliability of the sources for
28   particular opinions. See Brown, 2022 WL 17961497, at *2–14.
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 1 Space Data, 2019 WL 2603285, at *4 (emphasis added). Objections to Mr. Deal veering into similar

 2 territory are entirely proper, and once they are raised, the burden falls to the proffering party to

 3 demonstrate that the testimony is “more likely than not” admissible. Google makes no effort to do

 4 that here, and the testimony should be excluded.

 5          D.     Allocation Testimony (Deal Rpt., ¶¶ 22, 136–137, 142)

 6          Google agrees that in the last section of his report, Mr. Deal opines that “[n]ot all Proposed

 7 Class Members suffered economic harm in every month while they were account holders.” ECF No.

 8 633-2 at p. 24. This is essentially a restatement of Mr. Deal’s earlier opinions on users’ allegedly

 9 voluntary sharing of data and the variance in bid requests. Deal Rpt., ¶ 136 (“Mr. Regan’s approach

10 is flawed and unreliable, as it does not allocate damages in proportion to the harm suffered by

11 individual Proposed Class Members and would allocate damages to Proposed Class Members in

12 months when they did not suffer harm, even under Plaintiffs’ theory.”); ¶ 137 (“In Section VI above,

13 I discuss that a substantial proportion of Proposed Class Members may be unharmed for all or part of

14 the Class Period, and that these unharmed members cannot be identified without individualized

15 inquiry.”); ¶ 142 (critiquing Mr. Regan’s market price allocation model “because different amounts

16 of information were shared in Bid Requests for different Proposed Class Members”).

17          As discussed above, Mr. Deal’s proposed testimony regarding the variability in bid requests

18 goes beyond simply relying on information provided by other experts in the case, and represents Mr.

19 Deal’s own affirmative assertions of opinions about variability. See Section II.B. Similarly, Mr.

20 Deal’s testimony regarding unharmed class members does not simply rely on information to support

21 an assumption, but instead represents Mr. Deal’s affirmative opinions on whether and when class

22 members voluntarily shared data. Section II.A.c. This testimony goes beyond Mr. Deal’s admitted

23 expertise and should be excluded. See Brown, 2022 WL 17961497, at *11.

24          Google also makes no affirmative effort to establish the admissibility of Mr. Deal’s opinions

25 regarding individualized inquiry. Deal Rpt., ¶ 137 (“. . . unharmed [class] members cannot be

26 identified without individualized inquiry”); see also id., ¶ 138 (“Individualized inquiry would be

27 necessary to determine whether Google shared data for or profited from data about each Proposed

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 1 Class Member in each month.”). As discussed in Section II.A.b above, this testimony should also be

 2 excluded.

 3 IV.     CONCLUSION

 4         Plaintiffs respectfully request that the Court grant their motion to exclude the testimony of

 5 Bruce Deal, as stated in the Proposed Order.

 6

 7 DATED: December 20, 2023                              Respectfully submitted,

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 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          I, H. Melissa Mather, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

 4          Executed this 20th day of December, 2023, at New York, New York.

 5
                                                                 /s/ H. Melissa Mather
 6                                                               H. Melissa Mather
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